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     Attorneys for Plaintiff
 6   Troy Newmiller
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 8                        UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10
     TROY NEWMILLER,                         )   Case No.: 5:15-cv-00139-FFM
11                                           )
                  Plaintiff,                 )   {PROPOSED} ORDER AWARDING
12                                           )   EQUAL ACCESS TO JUSTICE ACT
           vs.                               )   ATTORNEY FEES AND EXPENSES
13                                           )   PURSUANT TO 28 U.S.C. § 2412(d)
     CAROLYN W. COLVIN, Acting               )   AND COSTS PURSUANT TO 28
14   Commissioner of Social Security,        )   U.S.C. § 1920
                                             )
15                Defendant                  )
                                             )
16                                           )
17
           Based upon the parties’ Stipulation for the Award and Payment of Equal
18
     Access to Justice Act Fees, Costs, and Expenses:
19
           IT IS ORDERED that fees and expenses in the amount of $3,100.00 as
20
     authorized by 28 U.S.C. § 2412, and costs in the amount of $400.00 as authorized
21
     by 28 U.S.C. § 1920, be awarded subject to the terms of the Stipulation.
22
     DATE: August 29, 2016
23
                                     /S/FREDERICK F. MUMM
24                             THE HONORABLE FREDERICK F. MUMM
                                UNITED STATES MAGISTRATE JUDGE
25
26
27
                                             -1-
28
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 1   Respectfully submitted,
 2   LAW OFFICES OF Lawrence D. Rohlfing
 3         /s/ Monica Perales
     _________________________
 4   Monica Perales
     Attorney for plaintiff Troy Newmiller
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